     Case 4:21-cv-02155-YGR          Document 388       Filed 12/20/22     Page 1 of 6




 1   BLEICHMAR FONTI & AULD LLP
     Lesley E. Weaver (SBN 191305)
 2   Anne K. Davis (SBN 267909)
     Joshua D. Samra (SBN 313050)
 3
     555 12th Street, Suite 1600
 4   Oakland, CA 94607
     Tel.: (415) 445-4003
 5   Fax: (415) 445-4020
     lweaver@bfalaw.com
 6   adavis@bfalaw.com
 7   jsamra@bfalaw.com

 8   Counsel for Plaintiffs in RTB and Calhoun

 9   [Additional Counsel Appear on Signature Page]
10

11                         IN THE UNITED STATES DISTRICT COURT
12                          NORTHERN DISTRICT OF CALIFORNIA
                                    OAKLAND DIVISION
13
     In re Google RTB Consumer Privacy               Master File No. 4:21-cv-02155-YGR-VKD
14   Litigation,
                                                     PLAINTIFFS’ ADMINISTRATIVE
15                                                   MOTION TO CONSIDER WHETHER
16   This document applies to: all actions.          ANOTHER PARTY’S MATERIALS
                                                     SHOULD BE SEALED
17
                                                     [Civil L.R. 7-11, 79-5(f)]
18
                                                     Judge: Hon. Yvonne Gonzalez Rogers
19

20

21

22

23

24

25

26

27

28
                                                                         Case No. 4:21-cv-02155-YGR-VKD
                                         PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER
                                                                     PARTY’S MATERIALS SHOULD BE SEALED
     Case 4:21-cv-02155-YGR           Document 388         Filed 12/20/22      Page 2 of 6




 1 I.       INTRODUCTION
 2          Pursuant to Civil Local Rules 7-11 and 79-5(f), plaintiffs hereby respectfully submit this
 3 Administrative Motion to Consider Whether Another Party’s (Defendant Google’s) Materials Should

 4 Be Sealed. Plaintiffs have filed the Reply Declaration of Lesley E. Weaver in Further Support of

 5 Plaintiffs’ Motion to Revise Case Schedule provisionally under seal. Plaintiffs redact this information

 6 and lodge this document conditionally under seal because Google has designated certain of the

 7 information such as Calhoun custodians contained therein as “Confidential” and instructed Plaintiffs

 8 to file this document under seal. Further, pursuant to the procedure set forth in Judge DeMarchi’s

 9 August 25, 2022 Order (Dkt. 313), Plaintiffs redact this information and lodge this document

10 conditionally under seal “without service on or access available to non-Calhoun counsel” as Google

11 has not “consent[ed] to filing the material without sealing or consent[ed] to allow plaintiffs’ other

12 counsel access.”

13          The specific document and information Plaintiffs respectfully request be conditionally
14 redacted or sealed are:

15              •   Highlighted portions of the Reply Declaration at:
16                     a. 2:16–22.
17 II.      ARGUMENT
18          Materials and documents may be filed under seal pursuant to Civil Local Rule 79-5 when the
19 document, or portions thereof, are privileged, protectable as a trade secret, or otherwise entitled to

20 protection under the law, if the request minimizes the information sought to be sealed from public

21 view and is and narrowly tailored L.R. 79-5(a), (c)(3). Plaintiffs’ request is narrowly drawn to seek

22 to seal only that information that Google has instructed Plaintiffs to submit under seal.

23          Plaintiffs seek this relief in good faith because Google has requested it be filed under seal and
24 the information sought to be sealed has been designated as Confidential by Google pursuant to the

25 Protective Order entered into between the parties. Civil L.R. 79-5(f)(3) imposes additional

26 requirements on the “Designating Party,” Defendant Google.

27

28
                                                        1                  Case No. 4:21-cv-02155-YGR-VKD
                                           PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER
                                                                       PARTY’S MATERIALS SHOULD BE SEALED
     Case 4:21-cv-02155-YGR         Document 388       Filed 12/20/22     Page 3 of 6




 1 III.    NOTICE OF LODGING

 2         Plaintiffs will lodge with the Court and serve on counsel for Defendant Google a complete

 3 copy of the unredacted and unsealed document in accordance with Civil L.R. 5-1(g), without service

 4 to the other plaintiffs’ lawyers, in accordance with Judge DeMarchi’s August 25, 2022 Order (Dkt.

 5 313) and Civil L.R. 5-1(g).

 6 IV.     CONCLUSION

 7         Plaintiffs, for the reasons set forth herein, hereby move the Court to consider whether the

 8 above-described document should remain under seal and in redacted form pursuant to Google’s

 9 designations and instructions.

10

11 DATED: December 20, 2022                            Respectfully submitted,

12
                                                       BLEICHMAR FONTI & AULD LLP
13
                                                       By: /s/ Lesley E. Weaver
14                                                     Lesley Weaver (SBN 191305)
15                                                     Anne K. Davis (SBN 267909)
                                                       Joshua D. Samra (SBN 313050)
16                                                     555 12th Street, Suite 1600
                                                       Oakland, CA 94607
17                                                     Tel.: (415) 445-4003
                                                       Fax: (415) 445-4020
18
                                                       lweaver@bfalaw.com
19                                                     adavis@bfalaw.com
                                                       jsamra@bfalaw.com
20
                                                       SIMMONS HANLY CONROY LLC
21                                                     Jason ‘Jay’ Barnes (admitted pro hac vice)
                                                       An Truong (admitted pro hac vice)
22
                                                       Jennifer Paulson (admitted pro hac vice)
23                                                     112 Madison Avenue, 7th Floor
                                                       New York, NY 10016
24                                                     Tel.: (212) 784-6400
                                                       Fax: (212) 213-5949
25                                                     jaybarnes@simmonsfirm.com
                                                       atruong@simmonsfirm.com
26                                                     jpaulson@simmonsfirm.com
27
                                                       DICELLO LEVITT LLC
28                                                     David A. Straite (admitted pro hac vice)
                                                     2                  Case No. 4:21-cv-02155-YGR-VKD
                                        PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER
                                                                    PARTY’S MATERIALS SHOULD BE SEALED
     Case 4:21-cv-02155-YGR   Document 388      Filed 12/20/22     Page 4 of 6




 1                                              485 Lexington Avenue, Suite 1001
                                                New York, NY 10017
 2                                              Tel.: (212) 784-6400
 3                                              Fax: (212) 213-5949
                                                New York, NY 10165
 4                                              Tel: (646) 993-1000
                                                dstraite@dicellolevitt.com
 5
                                                Counsel for Plaintiffs in RTB and Calhoun
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                              3                  Case No. 4:21-cv-02155-YGR-VKD
                                 PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER
                                                             PARTY’S MATERIALS SHOULD BE SEALED
     Case 4:21-cv-02155-YGR           Document 388        Filed 12/20/22      Page 5 of 6




 1                 ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)

 2          I, Lesley E. Weaver, attest that concurrence in the filing of this document has been obtained

 3 from the other signatories. I declare under penalty of perjury that the foregoing is true and correct.

 4          Executed this 20th day of December, 2022, at Oakland, California.

 5
                                                                 /s/ Lesley E. Weaver
 6                                                               Lesley E. Weaver
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                       4                  Case No. 4:21-cv-02155-YGR-VKD
                                          PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER
                                                                      PARTY’S MATERIALS SHOULD BE SEALED
     Case 4:21-cv-02155-YGR          Document 388       Filed 12/20/22     Page 6 of 6




 1                                   CERTIFICATE OF SERVICE

 2         I, Lesley E. Weaver, hereby certify that on December 20, 2022, I electronically filed the

 3 foregoing document with the Clerk of the United States District Court for the Northern District of

 4 California using the CM/ECF system, which will send electronic notification to all counsel of record.

 5 I also caused a copy of the under seal filing to be delivered to counsel for Defendant Google LLC via

 6 electronic mail.

 7                                                             /s/ Lesley E. Weaver
                                                               Lesley E. Weaver
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                      5                  Case No. 4:21-cv-02155-YGR-VKD
                                         PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER
                                                                     PARTY’S MATERIALS SHOULD BE SEALED
